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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
VANESSA BORSODI
Plaintiff, _ CIVIL ACTION
FILE NO.
v.

ALLIED INTERSTATE, LLC.

Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, brings this action against Defendant, on the grounds and the

amounts set forth herein.
I. PRELIMINARY STATEMENT

This action arises out of the facts and circumstances surrounding phone calls
made to the Plaintiff. Plaintiff, an individual, institutes this action for actual and
statutory damages against the defendant and the costs of this action against
Defendant for violations of the Telephone Consumer Protection Act (hereinafcer
“TCPA”) 27 U.S.C. 227 et seq.

II. PARTIES

1. Plaintiff is a natural person residing in Pinellas County, Florida.

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2. Defendant is a foreign for profit engaged in consumer debt collections.

3. Defendant was attempting to collect an alleged but unsubstantiated debt
against Plaintiff, which gives rise to this action.

III. JURISDICTION AND VENUE

4. Jurisdiction is conferred on this Court by 28 U.S.C. 1331

5. Venue is this District is proper in that the Defendant transacts business here
and the conduct of underlying the complaint occurred in Pinellas County,
Florida, which falls under the jurisdiction of the Tampa Division of the
Middle District Court.

IV. STATUTORY STRUCTURE TCPA

6. The Telephone Consumer Protection Act, 47 U.S.C. 227 (“TCPA”) amended
the Federal Communications Act 47 U.S.C. 151, et seq. (“FCA”) to address
the uses of automatic telephone dialing systems, artificial or prerecorded
voice messages, SMS text messages reviewed by cell phones, and the use of
fax machines to send unsolicited advertisements

7. Under the TCPA “automatic telephone dialing system” (hereinafter
“ATDS”) means equipment which has the capacity-
(A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and

(B) to dial such numbers.

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See, 47 U.S.C. 227 (a)(l).

8. Under the TCPA, it is unlawful to make any call (other than a call made for
emergency purposes or made with the prior express consent of the called
party) using any automatic telephone dialing system or an artificial or
prerecorded voice message to any telephone number assigned to a paging
service, cellular telephone service, specialized mobile radio service, or other
radio common carrier service, or any service for which the called party is
charged for the call.

9. Under the TCPA, a person or entity may, if otherwise permitted by the laws
of the rules of the court of a State, bring in an appropriate court of that State:

(A) an action based on a violation of this subsection or the
regulations prescribed under this subsection to enjoin such
violation,

(B) an action to recover for actual monetary loss from such a
violation, or to receive $500 in damages for each such
violation, whichever is greater, or

(C) both such actions.

If the court finds that the defendant willfully or knowingly violated this subsection

or the regulations prescribed under this subsection, the court may, in its discretion,

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increase the amount of the award to an amount equal to not more than 3 times the
amount available under subparagraph (B) of this paragraph. 47 U.S.C. 227 (b)(3).

V. FACTUAL ALLEGATIONS
10. Defendant called Plaintist cell phone repeatedly, without permission or
express consent, with an auto-dialer within the 12 months preceding this cause of
action.
11. Defendant continued to call the Plaintiff intentionally, in total disregard of
Plaintiff` s directive, even after Plaintiff had specifically instructed Defendant to
stop calling Plaintiff’ s cell phone.

VI. TCPA VIOLATIONS

12. Plaintiff repeats, re-alleges, and incorporates by reference the foregoing
paragraphs The Defendant’s violations of the TCPA include, but are not limited
to, the following:
13. The actions of the Defendant individually and collectively violated the TCPA.
14. By the Defendant calling the Plaintiff’ s phone without express consent and in
direct violation of Plaintiff s instructions, thereby Defendant violated the TCPA.
27 U.S.C. 227
15. By the Defendant calling the Plaintiff’s phone without consent and expressly
against the directive that Plaintiff issued to Defendant, Defendant violated the

TCPA. 27 U.S.C. 227

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WHEREFORE, Plaintiff prays that judgment be entered against the Defendant
for the following:

(l)Statutory damages pursuant to TCPA 47 U.S.C. 227 (b)(3);

(2) Statutory damages pursuant to TCPA 47 U.S.C. 227 (d)(3);

(3)F air and reasonable costs of this action, court costs;

(4) Injunctive relief;

(5) Such other and further relief that the Court deems just and proper.
I hereby swear and affirm that the factual allegations contained herein are
true and accurate.

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VANESA BORSODI

 

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